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                       UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF COLUMBIA


                                                        )
NIKKI S. CARTER, et. al.,                               )
                                                        )
                        Plaintiffs,
                                                        )    Case No. 1:25-cv-744-PLF
v.
                                                        )
UNITED STATES DEPARTMENT OF
EDUCATION, et. al,                                      )

                        Defendants.                     )
                                                        )


                          DECLARATION OF DOE DECLARANT 1

        Pursuant to 28 U.S.C. § 1746, I, Doe Declarant 1, declare as follows:

            1.      I am a resident of California. I am over the age of 18 and have personal

     knowledge of all the facts stated herein. If called as a witness, I could and would testify

     competently to the matters set forth below.

            2.      This declaration is submitted in support of the Plaintiffs’ Request for a

     Preliminary Injunction.

            3.      I am a Senior Civil Rights Attorney with the San Francisco Regional Office of

     the Office for Civil Rights (“OCR”). I have worked for OCR since July of 2005, or for

     approximately 20 years. I have worked under several administrations, both Democratic and

     Republican.

            4.      Through my personal knowledge and experience, as well as through documents

     and information I have reviewed, I have knowledge about OCR in general and the San

     Francisco Regional Office in particular.



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        5.     OCR is charged with enforcing and investigating alleged violations of various

federal civil rights laws that protect students and other individuals against discrimination,

including Title VI of the Civil Rights Act of 1964 (Title VI), Title IX of the Education

Amendments of 1972 (Title IX), Section 504 of the Rehabilitation Act of 1973 (Section 504),

the Age Discrimination Act of 1975 (Age Act), Title II of the Americans with Disabilities Act

of 1990 (Title II), and the Boy Scouts of American Equal Access Act of 2002. OCR has a

responsibility to act in a reasonably prompt manner in response to alleged violations of these

laws.

        6.     OCR also initiates compliance reviews to determine whether recipients’

practices comply with civil rights laws and regulations. And OCR initiates directed

investigations to address possible discrimination that is not currently being addressed through

OCR's complaint resolution, compliance review, or technical assistance activities. These

investigations are generally more expansive and complex and tend to involve systemic issues

of noncompliance that affect many students or individuals.

        7.     In addition to its enforcement and investigative work, OCR also provides

trainings and technical assistance on civil rights laws to state and local educational agencies.

And it gives educational presentations to advocacy groups and parents.

        8.     The Assistant Secretary for Civil Rights leads OCR. OCR’s headquarters are in

Washington, D.C. It previously had 12 regional offices in Atlanta, Boston, Chicago, Cleveland,

Dallas, Denver, Kansas City, New York, Philadelphia, San Francisco, Seattle, and Metro

Washington D.C. Investigative staff in the regional offices carry out OCR’s mission by

enforcing the civil rights statutes and regulations. Staff use a variety of approaches to resolve

complaint investigations and compliance reviews in order to ensure equal access to education




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and promote educational excellence.

       9.      Pursuant to the Government Performance and Results Act (GPRA), OCR's

policy is to resolve complaints within 180 days. However, an unprecedented number of

complaints have been filed with OCR since the beginning of the Covid-19 pandemic and the

number of complaints has recently hit an all-time high. As a result, regional offices sometimes

struggle to investigate and resolve cases in a timely manner.

       10.     Prior to March 21, 2025, The Deputy Assistant Secretary for Enforcement

oversaw four Enforcement Divisions, each consisting of three regional locations. Each

Enforcement Division was managed by an Enforcement Director, who was responsible for

coordinating the program operations and resource management of three regional offices.

However, on March 21, 2025, the San Francisco office was closed, along offices in Boston,

Chicago, Cleveland, Dallas, New York, and Philadelphia.

       11.     Prior to its closure, the San Francisco office was managed by a Regional

Director, who was supported by a Chief Attorney and a Program Manager. The San Francisco

office handled complaints for the entire state of California. We received complaints alleging

civil rights violations, mostly from parents or advocates. In addition, the San Francisco office

performed proactive compliance reviews and directed investigations.

       12.     As a Civil Rights Attorney in the San Francisco office, I reviewed complaints

to determine whether they had merit and warranted a full investigation. I investigated

complaints, negotiated resolutions, and monitored compliance with these resolutions. All of

the complaints that I worked on alleged violations of federal law, including Title VI, Title IX,

Section 504, the Age Act, and Title II.

       13.     As of March 11, 2025, I had approximately 20 open investigations ranging from




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the initial stage of investigation to the completed stage in which negotiations of a resolution

agreement were ongoing or where I was monitoring compliance with the terms of a resolution

agreement. I also had somewhere between 35 and 40 cases in the evaluation stage that still

needed to be reviewed to determine whether an investigation was warranted.

       14.     On March 11, 2025, at approximately 3:00 p.m. PST, my government-issued

laptop, which I use to perform all of my work for OCR, suddenly restarted without any

warning. I was informed and believe that the same unexpected restart happened to all other

employee computers at the San Francisco office. After the computer restarted, I was not able

to access all of the various systems, programs, and apps that were necessary for me to perform

my job.

       15.     At 4:37 p.m. PT on March 11, 2025, I received from Jacqueline Clay, Chief

Human Capital Officer (CHCO), an email with the subject line “CHCO - Notice to Employees

Impacted by Reduction in Force (RIF)." The email stated: “I am writing to share some difficult

news. This email serves as notice that your organizational unit is being abolished along with

all positions within the unit - including yours.” Annexed hereto as Exhibit 1 to this declaration

is a true and correct copy of the email that I received and its attachments, dated March 11,

2025. The email then stated that I was being placed on administrative leave starting March 21,

2025, and it prohibited me from doing a number of things during the "transition" period

between March 11 and March 21, like accessing Department of Education accounts and

systems, or accessing Department of Education facilities without prior approval. The

prohibition was clearly designed to prevent me from having access to anything related to my

work, including my own attorney work product.

       16.     Because I received no advance notice, I was unable to perform the simple




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courtesy of informing any complainant, administrator at an educational entity, or anyone else

involved in any of the complaints for which I was responsible, that I would no longer be

working on the matter and that OCR San Francisco was being closed. However, even if I had

been given the opportunity to provide them with such a courtesy notice, I would not have been

able to give them any additional information about the future of their respective complaints. I

have never been told what OCR regional office will now be responsible for my matters, who

will be responsible for them, when they will be responsible for them, or when they will contact

the complainants and the educational entities to notify them of the significant changes in the

handling of the matter.

          17.   I discovered later, in early April 2025, that an automated message had been set

up for my OCR email account, after I sent an email to that address. The automated message

stated that I was “currently engaged in closing out [my] work activities and responsibilities as

part of a planned transition.” Not only did I not author that message, it was and is completely

untrue.

          18.   Many of the matters for which I was responsible involve systemic issues of

discrimination and require an understanding of a large amount of information to be properly

resolved. It will be incredibly challenging for someone with no prior knowledge of the matters

to get up to speed and fully understand the specifics of the allegations being made and the

information and documentation that either support or do not support the allegations. It will take

someone weeks, if not months, to obtain a sufficiently complete understanding of these

matters.

          19.   On March 11, 2025, I had several matters that had reached critical stages in the

investigation and resolution process. In one matter, the investigation was completed, and a




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determination was made that a school district created a hostile, adverse, and discriminatory

environment for a parent of a student with a disability and the student’s advocate at the

student’s individualized education program (IEP) team meetings. This resulted in the student

not receiving required services and accommodations in his classroom, which impacted his

education. A resolution agreement to address and remedy the discrimination, including

measures to prevent future meetings from becoming adversarial and discriminatory and

provisions to provide the student with compensatory education and services, was being

negotiated. The deadline to have the agreement signed and implemented was March 25, 2025.

Without the assistance and advocacy from the OCR San Francisco office, the execution of the

agreement is in jeopardy and the child will likely not receive the benefits and remedies included

in the agreement within a couple of weeks of March 25, 2025, as was initially anticipated.

       20.     Another matter involved a post-secondary institution’s failure to provide

necessary academic adjustments, accommodations, and modifications to one of its students

who has a disability. The investigation was recently completed and a resolution agreement was

being prepared that would ensure that the student receives reasonable adjustments and

accommodations in her classes so that she has an equal opportunity to successfully receive a

beneficial education. The student had requested that her matter be resolved expeditiously since

the lack of timely accommodations made it extremely hard for her to attend class, do

coursework, and complete her courses. She will now, unfortunately, face significant delay in

the resolution of her matter.

       21.     The actions on and aftermath of March 11, 2025, have also adversely affected

matters that involve monitoring an educational entity’s implementation and completion of the

terms of a resolution agreement, and will continue to adversely affect those matters.




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Specifically, in two matters that involved systemic issues of discrimination against students

with disabilities, both entities, a school district and a county office of education, have been

implementing the required actions for close to two years and are near completion of the terms.

However, the remaining terms are the most onerous of the agreements, but are also the most

beneficial to the impacted students. Both of the entities were having difficulties with properly

implementing the terms as required by the language of the agreements and I was collaborating

with both to determine viable ways for them to best implement the terms to ensure compliance

with federal civil rights laws. I have not been able to inform either entity that I will no longer

be working on their matters, and it is unlikely that either of them has any knowledge of what

is happening with the complaints filed against them.

       22.     In fact, on the afternoon of March 19, 2025, I received an email from the

representative of the school district in which he asked for additional clarity about the actions

that need to be completed and he requested that I contact him to discuss the matter. Because I

have been prevented from sending email outside of the ed.gov email domain and cannot make

outgoing calls from my work phone number, I have been unable to either acknowledge or

respond to his email. Closing the San Francisco regional office has caused and will continue

to cause significant delay in each entity’s ability to complete the terms of the agreement. The

longer the delay, the greater the likelihood of harm to the students, who were the intended

beneficiaries of the agreements' remedial provisions.

       23.     In addition to the above-mentioned specific matters, nearly all of the matters

for which I am responsible allege discrimination based on disability. The majority allege

discrimination because of a school district's failure or refusal to provide necessary services or

accommodations to a student with a disability in the primary or secondary educational setting.




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When a student with a disability in primary or secondary school does not receive the services

and accommodations that are required to receive a free appropriate public education (FAPE),

the resulting harm can be serious both to the student's educational experience and to the

student's mental health and well-being. Thus, addressing, resolving, and remedying any

failures are time sensitive tasks. These matters were previously subject to a directive from OCR

administration to “pause” for several weeks all work that required any contact or

communication with individuals outside of OCR. It is not clear when or whether these

complaints will be resolved given the complete lack of information or guidance on how the

matters will be reassigned. Moreover, even if my matters were reassigned to another individual

in a different OCR office, the reassignment will still be detrimental to the timely and successful

conclusion of the matters.

       24.     Closing the San Francisco OCR office also hinders OCR’s ability to ensure that

educational institutions in California are physically accessible to students and others with

disabilities who seek to benefit from the services, programs, or activities of the institutions.

Both Section 504 and Title II mandate that the programs and activities of educational

institutions be accessible to people with disabilities. Physical accessibility is highly technical

and is governed by a very specific set of standards that have at their core precise measurements

for various objects and potential barriers to access. As an example, OCR San Francisco has

received numerous complaints about high school football stadiums and other performance

venues across the State of California that lack accessibility. For OCR to investigate the

complaints properly and thoroughly, it must perform an in-person physical inspection of the

stadiums and venues along with their features to obtain precise measurements (termed an

accessibility survey). This can involve numerous OCR staff and several days on site at the




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stadium or other facility. The inspections can be difficult to coordinate and expensive to

perform, particularly if they must now be done by OCR staff traveling from out of state. This

may result in surveys not being performed in a timely manner or not being performed at all.

       25.     Also, educational institutions that have come to rely on OCR San Francisco to

provide them with technical assistance and proactive training presentations have been and will

continue to be harmed by the office’s closing. I am a member of OCR San Francisco’s

“customer service team” (CST). The CST is responsible for responding to questions and

requests for advice or assistance regarding compliance with civil rights laws that come through

emails and phone messages. The requests often come from administrators of school districts

and post-secondary institutions and elementary/secondary and post-secondary teachers,

counselors, and other staff. Those school officials will no longer have the ability to have their

issues and questions addressed in a timely manner, or maybe at all.

       26.     Based on my knowledge and experience, I do not believe that the Department

of Education can meet its statutory obligations to investigate and ensure compliance with

federal civil rights law if the entire San Francisco regional office of OCR is closed. The San

Francisco regional office has always been one of the busiest and most productive of the OCR

regional offices. For the last several years before its closure, the San Francisco office has

struggled to meet GRPA deadlines because of understaffing. The reassignments of its cases to

fewer staff in other offices will undoubtedly prohibit OCR from promptly resolving most

complaints. I am informed and believe that many of the other offices being marked for closure

also receive a larger number of complaints and resolve a higher number of them, particularly

the New York office. Thus, the closure of the top performing offices in OCR makes little sense.

Closing them and transferring their large number of cases to the remaining offices will




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                                         INSTRUCTIONS
                                              FOR
                          EMPLOYEES IMPACTED BY REDUCTION IN FORCE (RIF)
                                            3/11/25



PHYSICAL ACCESS TO ED FACILITY:
Effective 9:00 pm on March 11, 2025, your PIV card access to ED facilities will be removed. You are no
longer permitted to use it to access federal buildings or property, including your former ED office space,
without prior ED approval.
    x The agency will schedule a period of time for those employees who may need to pick-up
        personal belongings.

TRANSITION OF WORK:
March 12, 2025 - March 21, 2025: During this period, you will have limited IT access to complete work
transition activities – you will have access to ed.gov email, Quicktime, FedTalent and Login.gov.
         NOTE 1: Please ensure your Principal Operating Component (POC) has your current mailing
         address, and a good phone number and email address to contact you.
         NOTE 2: Please follow the instruction on Login.gov to change your account settings (i.e.,
         phone number, email, etc.) and authentication method. This will help you retain access to
         Employee Express (Leave and Earnings Statements, W-2 tax prep forms).
         NOTE 3: See item 5 in the attached Information and Resources document for important
         instructions on downloading eOPF records.

TIME AND ATTENDANCE:
During your transition period make sure you:
    ¾ Cancel all leave requests in Quicktime.
    ¾ Code your timecards for Pay Periods 7 through 13 as follows:
        PP 7: 3/10/25-3/21/25: Code your timecard as you normally would
        PP 8: Use Code 065 for week 1 and week 2
        PP 9: Use Code 065 for week 1 and week 2
        PP 10: Use Code 065 for week 1 and week 2
        PP 11: Use Code 065 for week 1 and week 2
        PP 12: Use Code 065 for week 1 and week 2
        PP 13: Use Code 065 for 6/2/25 and 6/9/25. Leave the remainder blank.

Once these timekeeping tasks are complete, do NOT continue to report your time and do NOT make any
other changes to past timesheets. The payroll team will confirm that your timecard is coded properly
for the duration of your administrative leave.

ADMINISTRATIVE LEAVE AND LIMITED TECHNOLOGY ACCESS:
Effective 5:00 pm on March 21, 2025, you will be placed on administrative leave and no longer have
access to ED accounts or systems.
    x Once your IT account is disabled, you will be mailed a shipping box and label to return government
        property (IT equipment, phone, PIV Card, Travel Card, etc.). You are required to return all
        government property within 7 days of receipt.
    x Returning Government Property: It is very important that your POC has your current mailing
        address and a good phone number and email address to contact you.
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OFFICIAL SPECIFIC EMPLOYEE RIF NOTICE:
On or about April 9, 2025, you will receive your employee specific RIF notice. It will include
information regarding severance pay and retirement benefits.

SEPARATION FROM THE DEPARTMENT OF EDUCATION:
On or about June 9, 2025, your employment with the Department of Education will end.

For additional information about Reductions in Force, visit the Office of Personnel Management RIF site.

For questions, please email WorkforceRestructuring@ed.gov.




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Once you separate from the agency:
   x You will receive your RIF severance payout, if eligible.
   x OPM’s Severance Pay Estimation Worksheet is intended to allow those eligible for severance pay to
       calculate the approximate amount of severance pay he or she may receive.
   x The actual calculation formula is somewhat more complicated and technical therefore the actual
       payout will be provided by Office of Human Resources, Benefits and Retirement Branch.

Federal Employee Health Benefits
While on paid administrative leave, your health benefits will not change. Upon separation from the agency:
   x Federal Employee Health Benefits (FEHB) will continue for 31 days and may continue, with the
        employee paying 100%, plus a 2% administrative fee of the premium (with no contribution from
        the agency) for up to 18 months.
   x Federal Dental and Vision Insurance Program (FEDVIP) coverage ends upon separation.
   x Flexible spending accounts are closed on separation. Unspent money in a health care FSA is not
        refunded, although claims for purchases up to the date of separation will still be paid. Unspent
        money in a childcare FSA will remain available for use through the plan year.
   x For more information, visit OPM’s RIF Benefits Summary page.

4. VOLUNTARY SEPARATION INCENTIVES

Voluntary Early Retirement Authority (VERA): ED is currently offering Voluntary Early Retirement (Early Out),
through March 25, 2025. VERA is a strictly voluntary option that allows eligible employees to retire early. This
authority encourages more voluntary separations and helps agencies to complete needed organizational
changes with minimal disruption to the workforce.
    x There is no reduction in annuity if you are under the age of 62 as a FERS employee, unlike retiring
         under the normal Minimum Retirement Age (MRA) +10 rules. However, you must be at your MRA to
         become eligible for the FERS supplement.

As a reminder, employees who meet age and service requirements for Voluntary Retirement do not need the
VERA authority to retire and may apply to retire at any time.

Who is eligible for VERA?
If you are covered by the Civil Service Retirement System (CSRS) or the Federal Employees Retirement System
(FERS), then you are eligible for VERA if you meet the following requirements:

    x    At least 20 years of creditable service and at least 50 years old OR completed at least 25 years of
         creditable service regardless of age.
     x   Continuously employed by ED since at least January 12, 2025.
     x   Be in good standing with the agency (i.e., not in receipt of a final removal decision based upon
         misconduct, or unacceptable performance).
     x   Agree to separate from the Department by March 31, 2025

Application Procedures
  x To request a VERA, you must submit a complete retirement package by March 25, 2025. For your
       convenience, the attached Benefits and Work/Life email provides important information and forms
       required to apply for retirement.
  x All VERA applications must be received by 5:00 pm ET on March 25, 2025.
  x Incomplete packages will not be considered.


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  x   SUBMIT APPLICATION VIA EMAIL to BenefitsandWork/Life@ed.gov

5. SEPARATION

Retaining Personnel Records - Electronic Official Personnel Folder (eOPF)
To download and save your entire eOPF, please follow the instructions below using your ED account:
    x Go into the eOPF portal at OPM
    x Click “My eOPF Print Folder” tab at the top
    x Check “Select All”
    x Click one of the two print buttons
    x Click “My eOPF Print Status” tab at the top
        x Wait for the print request to process (this can take several minutes or longer depending on
           volume)
        x While waiting, read the instructions describing what the password will be for your
           document password
        x Password will be your last name plus the print number, which you will see in a box as the
           request is processing. Example: John Doe requested the print job and the system assigned
           1234 as the job number. The password would be Doe1234
    x When “View” appears in the “Action” box, click on it.
    x Save as a PDF
    x Open the PDF in Adobe and enter password

Outside Employment and Unemployment Benefits
  While on administrative leave:
   x You are not eligible to receive state unemployment benefits.
   x You are free to accept other employment subject to the ethics rules for outside employment and
       applicable federal law; however, you may not accept employment with another federal agency.

Once you are separated:
   x You are eligible to receive state unemployment benefits.
   x You are free to accept federal or non-federal employment, subject to the post-government employment
       ethics rules and applicable federal law.
   x You are entitled to reinstatement rights afforded all federal "displaced employees” for a period of three
       years.

Retention Standing
Your retention standing will be provided in your individual official RIF notice. Retention standing is an
employee’s relative standing on a retention register based on tenure, veterans’ preference, and length of
service augmented by performance credit.

6. CAREER TRANSITION

Available Employee Support
   x The Employee Assisstance Program (EAP) and WorkLife4You Program, provided by Federal
        Occupational Health (FOH), are available 24 hours a day, 7 days a week at 1-800-222-0364 (TTY:
        1-888-262-7848) or at www.FOH4you.com or www.worklife4you.com (new user registration
        code: ED) at no cost to you! You can also contact the benefits team at:
        BenefitsandWork/Life@ed.gov for additional information.


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